Case 2:01-cV-02873-.]DB-tmp Document 192 Filed 04/26/05 Page 1 of 10 Page|D 193

 

F* "

in THE UNITED sTATEs DISTRICT coURT `h
FOR THE wEsTERN DISTRICT oF TENNESSEE .,m“q, _v , t
wEsTERN DIVISION 95**-'"1"; 50 *"1`1`1 52 i'
i"\\_?=_`;'t_:`\i i”§. L,‘l ’ tro
-I‘<Liarn ar

~H$fo#TN,wa,au
DONALD G. HoLMEs, JR., 4 v 8

Plaintiff,
vs.

No. 01-2873~Bre/P

D. TAYLOR, et al.,

>-<><><><>-<>-<>-<><>-<>-<

Defendants.

 

ORDER GRANTING DEFENDANTS’ MOTION TO ENFORCE SETTLEMENT
AND
ORDER DENYING DEFENDANTS' MOTION TO STRIKE AS MOOT

 

On October 25, 2004, Defendants Dora Taylor, Trevis Mathews,
Odell Underwood, and Shelby County filed a motion to enforce the
voluntary settlement agreement entered into by plaintiff and the
defendants prior to the commencement of a pre“trial conference on
May 20, 2004. Defendants' motion is supported by the affidavit of
Fred Jones, former Assistant Shelby County Attorney, who
represented the defendants until Septemher of 2004, along with
attached exhibits: Exhibit A, plaintiff's typewritten settlement
agreement; Exhibit B, the re-typed agreement executed, by' the
defendants; and EXhibit C, the settlement check.

Plaintiff initially' failed to respond, to the defendants'
motion. Plaintiff then retained counsel who filed a response on
November 19, 2004. Attached. to plaintiff's response are six
exhibits: Exhibit A, a psychiatric record of Dr. W.C. Dewey; dated

l

eetin GONWPABHCE»"
l

\‘-{ilc T‘. ,‘GG t€{jok d
` `U 0 ,L g oct

with mm 53 amd/or 79

Case 2:01-cV-02873-.]DB-tmp Document 192 Filed 04/26/05 Page 2 of 10 Page|D 194

May 29, 2003; Exhibits B and C, office notes of Romell Cowans, case
manager at Whitehaven.Mental Health Center, dated June 23, 2003 and
October 17, 2003; Exhibit D, an unsigned, undated decision of an
Administrative Law Judge (ALJ) regarding plaintiff's hearing on an
application for Supplemental Security Income (SSI); Exhibit E, a
copy of the second attempted deposition of plaintiff Holmes, dated
March 11, 2002;l and Exhibit F, a letter dated April l, 2004, from
defense counsel advising plaintiff that no counteroffer would be
made to plaintiff's settlement offer of $50,0000 submitted on
November 24, 2003.

On December 1, 2004, the defendants filed a motion to strike
plaintiff’s response. Defendants object to the unauthenticated
exhibits attached, to plaintiff's response and, the lack of an
affidavit to support the allegations contained in the response.
Plaintiff has not replied to the defendants’ motion to strike.
Absent an affidavit of the records custodian, Plaintiff's Exhibits
A, B, C and D, fail to comply with the requirements of Rules 803(4)
and (6) and 901 of the Federal Rules of Evidence and are
inadmissible hearsay. Exhibits A, B, C, and the records to which
exhibit D refers are from November of 2002 and May, June, and

October of 2003. The records, even if properly authenticated, do

 

1 The deposition is already contained in the record. The first and
second attempted depositions of plaintiff were filed by defense counsel on March
14, 2002, as exhibits to defendants' response to plaintiff's prp §§ motion, filed
on. March 7, 2002, to compel/restrain. defense counsel from threatening or
intimidating plaintiff. (Docket entries 30, 31, 41)

2

Case 2:01-cV-02873-.]DB-tmp Document 192 Filed 04/26/05 Page 3 of 10 Page|D 195

not pertain to and are insufficient to establish plaintiff's mental
health or state of mind on May 20, 2004.2

For the record, the Court notes that the second attempted
deposition caf plaintiff occurred cmi March 11, 2002. Defense
counsel's attempts to take the plaintiff's deposition were
discussed at a status conference held before Judge Samuel H. Mays
on August 9, 2002. At that time, plaintiff had been released from
the Jail and appeared ppg §p, having been unsuccessful in retaining
an attorney. Judge Mays determined, after allowing plaintiff to
address the Court, that Holmes' motion and complaints were not, in
actuality, about intimidation or threats by defense counsel, but
rather, a request that defense counsel treat him with respect. The
conflict was resolved by plaintiff and defense counsel agreeing to
treat each other with more respect.

Subsequently, plaintiff, both ppg sp and through counsel,
filed numerous motions. The record reflects no motions filed by
plaintiff or counsel from August 9, 2002 through May 20, 2004,

which raise any issue of allegedly inappropriate conduct by defense

 

2 The allegations of mental incompetence, diminished mental state, and

inability to reason which are contained in plaintiff's response are untenable and
belied by the record before this Court. Plaintiff filed this case on October 25,
2001. Although plaintiff has been represented by four different attorneys at
various stages of this litigation, he capably filed the vast majority of motions
and pleadings while proceeding ppg §p. The Administrative Law Judge concluded,
and the Court agrees, that plaintiff suffers moderate restrictions in social
functioning and an inability to relate appropriately. However, the conclusion
by the ALJ, that plaintiff's mental impairment produces a marked restriction in
his ability for concentration, persistencer and pace, is refuted by plaintiff's
prolific ppg §§ filings and dogged persistence in litigating this case for over
three years. Furthermore, the case was set for trial on June 1, 2004, twelve
days after the pre-trial conference. Plaintiff did not seek to continue that
trial date based upon his health.

Case 2:01-cV-02873-.]DB-tmp Document 192 Filed 04/26/05 Page 4 of 10 Page|D 196

counsel. The parties, by virtue of their positions, are
adversaries. The allegations of intimidation and threats which are
contained in plaintiff’s response to the motion to enforce the
settlement are unsupported by the record. lt is apparent that
plaintiff has failed to inform present counsel, his fourth attorney
in this matter, of the resolution of his complaint during
proceedings held in open court. Furthermore, Plaintiff has not
filed any affidavit attesting to facts which support any inference
that the allegations contained in this response are for events or
conduct which occurred after August 9, 2002.3

Accordingly, the Court has determined that defendant's motion
to strike, while well-founded, need not be ruled upon before the
determination of the motion to enforce the settlement. Even should
the Court consider the exhibits, including the hearsay of the
unauthenticated medical records and SSI decision, the response and
exhibits are insufficient to demonstrate a dispute as to
plaintiff's entry into, or the terms of, the settlement agreement.
Furthermore, after reviewing the response and the exhibitsr the
Court determines that no hearing is necessary on the notion to
enforce because there is no genuine dispute that a settlement of

all material terms was agreed to by the parties.

 

3 Although the mental health notes attached as exhibits contain
references to plaintiff's complaints about appearing in federal courtr complaints
about having to fire his lawyerr the accusations against the fired lawyer, as
well as plaintiff being overwhelmed over unspecified legal problems, the notes
contain no complaints or references to the conduct of defense counsel.

4

Case 2:01-cV-02873-.]DB-tmp Document 192 Filed 04/26/05 Page 5 of 10 Page|D 197

Plaintiff was present on May 20, 2004, when defense counsel
announced to the Court that plaintiff had tendered an offer which
he believed would be accepted by the defendants. All parties
understood that a settlement had been agreed upon pending approval
by' the individual defendants. Based. upon. that agreement and
understanding, the Court continued the trial set for June l, 2004.
Defense counsel thereafter notified plaintiff that his clients
accepted his offer. Plaintiff then submitted a typewritten
“Compromise and Settlement Agreement"4 to defense counsel which
outlined the terms of the settlement, including a payment of six
dollars and sixty~six cents {$6.66). (§§p Exhibit A to affidavit of
Fred Jones) Defense counsel retyped the agreement to include the
names of all defendants and to correct grammatical errors. (§p§
Exhibit B to affidavit of Fred Jones) All defendants executed the
document between May 27 and June 1, 2004. The requested check was
prepared on May 26, 2004. (§p§ Exhibit C to affidavit of Fred
Jones)

Plaintiff did not go to defense counsel's office to sign the
settlement document and pick up the check. (Affidavit of Fred
Jones, para. 8) Plaintiff quit communicating with defense counsel.
(ldp) At an unspecified date, plaintiff notified defense counsel

that he was renouncing the settlement. (ld.) At a status

 

4 Although the settlement agreement is unsigned, the typeface and

appearance of the document are identical to many of plaintiff‘s typed pro pp
pleadings.

Case 2:01-cV-02873-.]DB-tmp Document 192 Filed 04/26/05 Page 6 of 10 Page|D 198

conference on July 29, 2004, defense counsel announced to the Court
that plaintiff had renounced the settlement agreement. Plaintiff
renewed his request for appointed counsel. The Court denied the
request and reset the case for trial. The defendants subsequently
filed this motion.

Public policy favors settling cases without litigation, and
settlement agreements should be upheld whenever it is equitable to
do so. Ar@ corp. v. Allied witan co., 531 F.2d 1368, 1372 (6*~ cir_
1976). District courts have the inherent power to enforce
settlement agreements entered into by parties litigating in a
pending case. Bamerilease Capital Corp. v. Nearburg, 958 F.Zd 150,
152 (shh cir. 1992),- nrc corp., 531 F.2d at 1370(c1t1ng xu}<;la v.
National Distillers Products Co., 483 F.2d 619, 621 (Gth Cir.
1973). This power extends to enforcement of oral settlement
agreements which are made off the record and not in the presence of
the court. Bowater N. Am. Corp. v. Murray Machine, Inc., 773 F.2d
7l, 76-77 (6th Cir. 1985).

Summary enforcement of a settlement agreement, without holding
an evidentiary hearing, is proper when the parties do not dispute
material facts pertaining to the existence or terms of a settlement
agreement. Kukla, 483 F.Zd at 62l-22. ln order to enforce the
agreement, the district court must find that the parties have
agreed on all material terms of the settlement. Brock v. Scheuner,

841 P.Zd lSl, 154 (6th Cir. 1988).

Case 2:01-cV-02873-.]DB-tmp Document 192 Filed 04/26/05 Page 7 of 10 Page|D 199

The case was set for trial June l, 2004. Defense counsel had
indicated no settlement offer was forthcoming from the defendants
and, he did, not initiate the proposed settlement. Plaintiff
proposed the settlement on May' 20, 2004. At the preetrial
conference before the Court, Plaintiff did not contradict defense
counsel’s announcement that the matter was settled pending the
approval of counsel’s clients. Plaintiff did not indicate that any
matters remained unresolved. Likewise, he did not indicate any
displeasure with or undue stress from the settlement negotiations.
Plaintiff's response to defendants' motion to enforce the
settlement contains no affidavit or exhibit in which plaintiff
denies that he proposed the terms set forth in Defendants' Exhibits
A and B, denies that he agreed to settle his case with defense
counsel prior‘ to the pre~trial conference, or denies that he
drafted Exhibit A.

Summary enforcement of a settlement agreement for which there
is no dispute as to the terms of the agreement is the only
appropriate judicial response, absent proof of fraud or duress.
Aro Corp, 531 F.2d at 1372. Plaintiff contends that the
negotiations occurred during a “heated discussion” in which he
“arbitrarily' stated” the “dollar‘ amount of $6.66.” Plaintiff
implies by unsupported allegations that he agreed to the settlement
as a result of duress or intimidationr however, the record and

plaintiff’s response do not evidence any duress or intimidation.

Case 2:01-cV-02873-.]DB-tmp Document 192 Filed 04/26/05 Page 8 of 10 Page|D 200

Plaintiff did not indicate to the Court on May 24, 2004, or any
time prior to the notification of the defendants’ acceptance of his
offer, that his settlement offer was made in anger or jest, under
duress, or as a result of illness or fraud. He has produced no
affidavit or medical records indicating he received psychiatric
treatment or hospitalization shortly before or after the conference
on May 20, 2004. Neither does plaintiff produce any affidavit or
evidence demonstrating that he attempted to withdraw or renounce
the terms of his agreement, for any reason, at any time prior to
the defendants’ acceptance of his offer,

Upon notification. by defense counsel that the defendants
agreed to his terms, plaintiff typed a document containing his
terms and submitted it to defense counsel for the defendants’
signatures. Thus, the objective acts of defense counsel and
plaintiff after the pre-trial conference reflect that all
essential terms had been agreed upon by the parties and all that
remained was to put the agreement in writing. When parties have
agreed on the essential terms of a settlement, and all that remains
is to memorialize the agreement in writing, the parties are bound
by the terms of the oral agreement. Brock, 841 F.Zd at 154.

Accordingly, Defendants' motion to enforce the settlement is
GRANTED. The motion to strike is DENIED as MOOT. Plaintiff is
ORDERED to sign the necessary documents to effectuate the

settlement agreement within eleven (11) days of the entry of this

Case 2:01-cV-02873-.]DB-tmp Document 192 Filed 04/26/05 Page 9 of 10 Page|D 201

order. Upon the completion of documents and the transfer of funds,

the parties are ORDERED to submit for approval a joint order of

dismissal. Failure of the Plaintiff to comply with this order

shall result in a dismissal of his lawsuit without further notice.

 

 

. ANIEL sRssN \\I
iT n sTATEs D:sTR cr Juncs

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 192 in
case 2:01-CV-02873 Was distributed by fax, mail, or direct printing on
Apri126, 2005 to the parties listed.

EsSEE

 

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Donald G. Holmes
3669 Egelsfields Dr.
Apt. 4

1\/1emphis7 TN 38116

Paul J ames Springer

LAW OFFICE OF PAUL J. SPRINGER
100 N. Main Bldg.

Ste. 301 5

1\/1emphis7 TN 38103

Debra L. Fessenden

SHELBY COUNTY ATTORNEY'S OFFICE
160 N. Main Street

Ste. 660

1\/1emphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

